


THIS OPINION HAS NO PRECEDENTIAL VALUE


THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS&nbsp;
 PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
Jamal A. Demorcy, Petitioner
v.
State of South Carolina, Respondent
      
    
  


ON WRIT OF CERTIORARI

Appeal From York County
 Lee S. Alford, Plea Judge
&nbsp;D. Garrison Hill, Post-Conviction Relief Judge

Unpublished Opinion No. 2006-UP-370
Submitted September 1, 2006  Filed October 27, 2006

AFFIRMED AND CERTIORARI DENIED


  
    
      
Assistant Appellate Defender Robert M. Pachak, South Carolina Commission of Appellate Defense and Jamal A. Demorcy, both of Columbia, for Petitioner.
Assistant Attorney General Arie D. Bax, Office of the Attorney General, of Columbia, for Respondent.
      
    
  

PER CURIAM: We dismiss the Petition seeking a writ of certiorari to review the circuit courts order denying Petitioners application for post-conviction relief (PCR) except insofar as the circuit court granted a belated review of the direct appeal issue pursuant to White v. State, 263 S.C. 110, 208 S.E.2d 35 (1974).
As to the Petition for a writ of certiorari, we deny certiorari on the following authority: Caprood v. State, 338 S.C. 103, 525 S.E.2d 514 (2000) (the findings of the PCR court will be upheld when there is any evidence to support them).
As to the direct appeal issue, the we affirm pursuant to Rule 220(b)(2), SCACR, because the record establishes that Petitioner pled guilty freely and voluntarily in compliance with the requirements of Boykin v. Alabama, 395 U.S. 238 (1969); see also State v. Patterson,&nbsp;278 S.C. 319, 322, 295 S.E.2d 264, 265&nbsp;(1982) (record must clearly establish intentional waiver of known right or privilege); State v. Armstrong,&nbsp; 263 S.C. 594, 598, 211 S.E.2d 889, 891&nbsp;(1975) (trial court must give defendant adequate warning of the consequences of guilty plea, and that warning must include an explanation of the defendants waiver of constitutional rights and a realistic picture of all sentencing possibilities.). 
AFFIRMED AND CERTIORARI DENIED. &nbsp;
ANDERSON, KITTREDGE, and SHORT, JJ., concur.

